              Case
               Case18-10502-reg
                    18-10502-reg Doc
                                  Doc23-1
                                      31 Filed
                                          Filed07/03/18
                                                06/05/18 Page
                                                          Page11ofof22



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION

IN THE MATTER OF:                     )
                                      )
CAROL A. EASTERDAY                    )                     CASE NO. 18-10502
                                      )                     CHAPTER 7
       Debtor.                        )

                                      AGREED ORDER
       Comes now Bank of New York Mellon fka The Bank of New York, as Trustee for the

Certificateholders of the CWABS, Inc., Asset-Backed Certificates, Series 2007-11 (“Bank of New

York”), by counsel, and the Chapter 7 Trustee and agree as follows:

       1.      Bank of New York filed a Motion for Relief from Automatic Stay and Abandonment

of Real Property [DKT #10] on April 17, 2018, seeking relief form the automatic stay and

abandonment of the real estate located at 4620 Anglers Lane, Fort Wayne, IN 46808.

       2.      The Chapter 7 Trustee objected to the motion on May 1, 2018.

       3.      As of May 18, 2018, no other party filed an objection or response to Bank of New

York’s motion.

       4.      The automatic stay of this proceeding is modified in order to permit Bank of New

York to foreclose its mortgage against the real estate located at 4620 Anglers Lane, Fort Wayne, IN

46808 by proceeding up to a judgment of foreclosure.

       5.      Bank of New York may not request a sheriff’s sale of the real estate located at 4620

Anglers Lane, Fort Wayne, IN 46808 until after the real estate has been abandoned from the

bankruptcy estate.




                                                1
                       Case
                        Case18-10502-reg
                             18-10502-reg Doc
                                           Doc23-1
                                               31 Filed
                                                   Filed07/03/18
                                                         06/05/18 Page
                                                                   Page22ofof22



            6.          The real estate located at 4620 Anglers Lane, Fort Wayne, IN 46808 shall be

abandoned from the bankruptcy estate on December 31, 2018, without further order from the Court.

Bank of New York may request a sheriff’s dale of the real estate after December 31, 2018.
                                                       July 03, 2018
            SO ORDERED THIS:



                                                                                    /s/ Robert E. Grant
                                                                         JUDGE, UNITED STATES BANKRUPTCY COURT


Reviewed and Approved:


 T.BSUJO&4FJGFSU                                                          T%BWJE.#FOHT
 Martin E. Seifert                                                              David M. Bengs, I.D. #16646-20
 Chapter 7 Trustee                                                              2110 North Calumet Avenue
 444 East Main Street                                                           Valparaiso, IN 46383
 Fort Wayne, IN 46802                                                           Telephone: (219) 462-5104
 Telephone: (260) 426-0444                                                      Email: dbengs@mlg-defaultlaw.com
 Email: mseiferttrustee@hallercolvin.com




R:\BMSW\quikdocs\18-10502\agreed order re motion for relief _ objection.wpd
                                                                              -2-
